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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                   )
EUGENE NYAMBAL,                    )
                                   )
                  Plaintiff,       )
                                   )
          v.                       )
                                   ) Civil Action No. 14-1904 (EGS)
ALLIEDBARTON SECURITY              )
SERVICES,LLC                       )
                                   )
                  Defendant.       )
                                   )

                                 ORDER

     For the reasons stated in the accompanying Memorandum

Opinion it is hereby

     ORDERED that plaintiff’s motion for leave to file a

supplemental memorandum is DENIED; and it is further

     ORDERED that plaintiff’s motion for reconsideration of the

Court’s Order dismissing his defamation claim is GRANTED.

Plaintiff’s defamation claim may proceed to discovery; and it is

further

     ORDERED that the parties shall meet and confer as required

by Federal Rule of Civil Procedure 26(f) and Local Civil Rule

16.3. The parties shall file a meet and confer report by no

later than November 1, 2018.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          October 17, 2018
